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1    CARL M. FALLER SBN: 70788
     FALLER LAW FIRM
2    Post Office Box 912
     Fresno, CA 93714
3    Phone: 559-226-1534
     carl.faller@fallerdefense,com
4

5    Attorney for Defendant
     SERGIO JARA
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7
                            IN THE UNITED STATED DISTRICT COURT
8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                        ) Case No.: 1:12-cr-00213-AWI-BAM-2
11                                                    )
                    Plaintiff,                        )
12                                                    ) AMENDED STIPULATION AND ORDER
            vs.                                       ) TO ALLOW SALES OF REAL PROPERTY
13                                                    )
     SERGIO JARA,                                     )
14                                                    )
                    Defendant.                        )
15
            Defendant Sergio Jara is currently on pretrial release in this matter. One of the conditions
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     of that release is that he not engage in any real estate transactions without the consent of Pretrial
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     Services. There are two pending property transactions that are set forth in more detail below and
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     Pretrial Services has indicated that it will have no objection to the transactions if they are
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     approved by the government. Counsel for the government and counsel for the defendants have
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     reached an agreement concerning how the sales can be consummated and that agreement is set
21
     forth below.
22
            It is hereby stipulated and agreed upon as follows;
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            There are currently pending at Ticor Title Company the following escrows: 1) Escrow
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     No.TTK-1301-FTKE-3011400917, for the sale of property located at 123 Clifton Street,
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     Bakersfield California, and 2) Escrow No. TTK-1301-FTKE-3011400918, for the sale of
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     property located at 1120 McNew Court, Bakersfield, California.
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1           These escrow transactions may close, and title to the property transferred upon the

2    following condition: After payment of all expenses of sale and satisfaction of encumbrances,

3    Fifty Percent (50%) of the net proceeds are to be distributed to the Seller. The remaining Fifty

4    Percent (50%) of the net proceeds shall be deposited with the Clerk of the Court of the United

5    States District Court for the Eastern District of California, 2500 Tulare Street, Fresno, California

6    93721, in a commercial registry account and that no amount shall be disbursed therefrom until

7    further order of the court.

8
     Dated: November 10, 2014                              /s/Carl M. Faller
9
                                                           CARL M. FALLER
10                                                         Attorney for Defendant

11
                                                           BENJAMIN B. WAGNER
12                                                         United States Attorney
13
     Dated: November 10, 2014                          By /s/Kirk Sherriff
14                                                        KIRK SHERRIFF
                                                          Assistant U.S. Attorney
15                                                        Attorney for United States of America

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           Case 1:12-cr-00213-JLT-BAM Document 191 Filed 11/12/14 Page 3 of 3



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2                                                ORDER:

3           It is hereby ordered that the two escrow transactions described in the above stipulation

4    may close and title transferred, upon the following condition: After payment of all expenses of

5    sale and satisfaction of encumbrances, Fifty Percent (50%) of the net proceeds are to be

6    distributed to the Seller, and the remaining Fifty Percent (50%) of the net proceeds shall be

7    deposited with the Clerk of the Court of the United States District Court for the Eastern District

8    of California, 2500 Tulare Street, Fresno, California 93721, in a commercial registry account and

9    that no amount shall be disbursed therefrom until further order of the court.

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     IT IS SO ORDERED.
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12   Dated: November 12, 2014
                                                 SENIOR DISTRICT JUDGE
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